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Case 3:15-cr-00307-M Document 854 Filed 11/13/20 NO oR oR

 
 
    

IN THE UNITED STATES DISTRICT (COUR
FOR THE NORTHERN DISTRICT OF /TEXA

DALLAS DIVISION NOV 13 2020

 

CLERK, U.S. DISTRICT COURT
By
Criminal Nov 3+1L5<cr- =

3:)5-ev-307

United States of America

 

 

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Nicole Leedy

 

MOTION IN RESPONSE TO GOVERNMENTS OBJECTION FOR RULE 36

 

Comes now Nicole Leedy in response to governments objection to
her motion to correct clerical error Rule 36. Defendant argues and
it is clear she does not seek time from 2008 conviction to be added
to the current sentence. Defendant in the above case seeks what she
understood the judge at sentence impose a concurrent sentence with
time served from the date of incarceration for the new charges, cases
2015-cr-8834 and 2015-cr-2035, where she was incarcerated on the
revocation of parole case number 2008-cr-11402. Defendant agrees
that she has completed with the correct += time served from July %,
2015 until now 64 months of her sentence. Defendant's indictment
for the federal case listed above was issued on July 8, 2015 and
since she was being held in state custody waiting sentence for the
federal government she seeks that time toward her federal sentence.
Defendant has spoken to case manager and case manager replied with
the judgment does not indicate time served for time in state custody.
Therefore Defendant moves this Honorable court to include time .
spent in state custody from July 8, 2015 until April 8, 2019 when
defendant was transferred to federal custody. BOP is not crediting
defendant time from July 8, 2015-April 8, 2019 when she arrived
at FBOP Aliceville.

Therefore, Defendant respectfully request this court clarify its

judgment to include time served from the dates listed above.

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WHEREFORE, defendant prays this court grant her relief sought in
the above motion and correct the judgment and forward it to BOP
so BOP can correct her date.

RESPECTFULLY submitted this 6th day of November, 2020.

9-177
Nicole Leédy
SPC ALICEVILLE
P.O. Box 487
Aliceville, AL. 35442

CERTIFICATE OF SERVICE

This is to certify, under penalty of perjury under the laws of the
United States of America pursuant to 28 U.S.C. §1746, that I served
a true and correct copy of the following to:

US District Court -Clerk US Attorney
1100 Commerce St. 1100 Commerce St.
Dallas TX 75242 Dallas TX 75242

upon the following addresses by placing it in a sealed envelope, bearing
sufficient postage for delivery via USPS and deposited it in the postal
box provided for inmates on the grounds of SPC Aliceville on this 6th
day of November, 2020.

 

Litigation is deemed FILED at the time it was delivered to prison
authorities. See Houston v. Lack.
 

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